Case 5:13-cv-00306-LAG Document 234 _ Filed unr Fleas SM
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UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF GEORGIA

FOR THE MIDDLE DISTRICT OF GEORGIA
MACON DIVISION

YKK CORPORATION and YKK (U.S.A.) INC.,
Plaintiffs,

Vv. Case No. 5:13-CV-306-LJA

VELCRO USA INC. and VELCRO CANADA
INC.,

Defendant.

GENERAL INSTRUCTIONS

When answering the following questions and filling out this Verdict Form, please follow
the directions provided throughout the form. Some of the questions contain legal terms that are
defined and explained in detail in the Jury Instructions. Please refer to the Jury Instructions to
explain the meaning and usage of each legal term that appears in the questions below. Your
answer to each question must be unanimous.

FINDINGS OF THE JURY
We, the jury, unanimously agree to the answers to the following questions and return

them under the instructions of this Court as our verdict in this case.
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INFRINGEMENT
1. Has YKK proven by a preponderance of the evidence that Velcro has infringed,

literally or under the doctrine of equivalents, any of the following claims of YKK’s U.S. Patent

6,720,059 (referred to as “YKK’s Patent”) with respect to the following Velcro products?

Please answer in each cell with “Yes” (if you find in favor of YKK) or “No” (if you find in favor

of Velcro).
Doctrine of Equivalents
4Gi version 1 4Gi version 2 MH4
Claim 2
N 0 N Q \J 0
Claim 3 N
0

No

Literal Infringement

4Gi version |

4Gi version 2

laim 1
Claim 13 N Q N 5
Claim 14 N N
Q d
Claim 15 |
IN 2 IN 2
Claim 16

IN 2

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2. Has YKK proven by a preponderance of the evidence that Velcro has induced a

third party to infringe any of the following claims of YKK’s Patent with respect to the following

Velcro products?

Please answer in each cell with “Yes” (if you find in favor of YKK) or “No” (if you find in favor

of Velcro).

Doctrine of Equivalents

4Gi version 1

4Gi version 2

MH4

Claim 2

No

Ns

Claim 3

No

No

Literal Infringement

4Gi version 1

4Gi version 2

Claim 13 \| N
+ ° 4 a
Claim 14 N
No
Claim 15 N N
O 3
Claim 16 \\ \

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3. If you found that YKK proved by a preponderance of the evidence that Velcro
infringed any claim of YKK’s Patent, did YKK prove by a preponderance of the evidence that
Velcro’s infringement was willful?

Answer this question only if you have found that Velcro has infringed any of the asserted claims
of YKK’s Patent (if you answered Yes in any boxes in Question I or 2). Do not answer this

question if you answered “No” in every box in Question 1 and 2.

Yes No

You have now reached the end of the Verdict Form and should review it to ensure it
accurately reflects your unanimous determinations. The Jury Foreperson should then sign and
date the Verdict Form in the spaces below and notify the marshal that you have reached a
verdict. The Presiding Juror should retain possession of the Verdict Form and bring it when the

jury is brought back into the court

DATED: November | ) 2017
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We concur:
